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EASTERN DISTRICT OF CAL|F(;'F?I\H§T

 

 

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF CALIFORNIA
In re Case No. 07-22586-€-7

WILLIAM ALLEN CUSTER and MC NO. JLS-l

FRANCES MARIE CUSTER,

Debtors.

\/VVV\/\./VV

 

FINDINGS OF FACT AND CONCLUSIONS OF LAW
ON MOTION FOR RELIEF FROM AUTOMATIC STAY NOT INTENDED FOR
PUBLICATION
These findings of fact and conclusions of law, which
are not intended for publication, are rendered in this
contested matter pursuant to Federal Rule of Civil Procedure 52

as incorporated by Federal Rules of Bankruptcy Procedure 7052

and 9014.

Jurisdiction
Jurisdiction is founded upon 28 U.S.C. § 1334. This is

a core proceeding. 28 U S.C. § 157(b)(2)(G).

 

 

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Findings of Fact

Debtors filed their voluntary chapter 7 petition on
April 12, 2007. They scheduled a 2003 Big Tex Trailer
("vehicle") as property of the estate. The first meeting of
creditors was held on May 9, 2007. The chapter 7 trustee filed
a report finding that there is property available for
distribution from the estate over and above that exempted by
the debtors. Debtors were discharged from all dischargeable
debts on July 18, 2007.

On June 19, 2007, American General Financial Services,
Inc. ("movant") filed a motion, notice, and declaration
requesting that this court vacate the automatic stay to permit
movant to repossess the vehicle. The fair market value of the
vehicle according to the debtors is $2,500. Movant holds a
lien on the vehicle in the approximate amount of $8,691.67.
There is no evidence of any other liens against the vehicle.

No opposition to the motion was filed within the time
prescribed by Local Bankruptcy Rule 9014~1(f)(1). The parties
have consented to taking evidence by affidavit and have not
demonstrated that there is any disputed material factual issue
that would warrant an evidentiary hearing. §§§ L. Bankr. R.
9014-l(f)(1). The evidentiary record is closed. ld4

Upon review of the record, the court determined that

the written record,was adequate and that no oral argument is

l'leC€SSaI`Y .

Conclusions of Law

The automatic stay of acts against debtor in personam

 

 

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expires when the debtor is granted a discharge. 11 U.S.C.

§ 362(c)(2)(C). Acts against property of the estate remain
stayed until the earliest of the time when the bankruptcy case
is closed, dismissed, or the property ceases to be property of
the estate. ll U.S.C. § 362(c). The automatic stay may be
terminated earlier if debtor fails to protect the secured
party's interest adequately, § 362(d)(l), and, with respect to
a stay of an act against property, debtor does not have equity
in the property, § 362(d)(2)(A), and the property is not
necessary to an effective reorganization. ll U.S.C. §
362(d)(2)(B). The issue of whether the property is necessary
to an effective reorganization is not considered in a chapter 7
case because no reorganization is contemplated in a chapter 7
case.

Although the debtors do not appear to have any equity in
the vehicle, since the debtors were granted a discharge, the
automatic stay has expired as to the debtors. Thus, the motion
insofar as it is directed at the interest of the debtors is
moot and will be denied.

However, the motion will be granted as to the interest
of the trustee.

An appropriate order will issue.

Dated: August il , 2007

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UNITED siWTES BANKRUPTCY JUDGE

 

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CERTIFICATE OF SERVICE

On the date indicated below, I served a true and
correct copy(ies) of the attached document by placing said
copy(ies) in a postage paid envelope addressed to the person(s)
hereinafter listed and by depositing said envelope in the
United States mail or by placing said copy(ies) into an
interoffice delivery receptacle located in the Clerk's Office.

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Dated: j/Z /O 7 / ,

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